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    FILE D
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       12/23
   THOMAS G       . BRUTON    T
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                                                                                                                      'l-.s'

     , U .S . D IS TRICT COUR       UNITED STATES DISTRICT COURT
CLERK
                                FOR THE NORTHERN DISTRICT OF ILLII{OIS                       D:; . u j"ld
                                          EASTERN DIVISION                                      la,<4'tq &Yl
                                                                                         T$@&&ry,*      rFi.fi":i':
                                                                                         a"^ {! T: ,.;.1'l*l:i:'


                                                      )
                                                      )
                                                      )
                                                      )         CIVI   ACTION
       (Name of the plaintiff or      plaintiffs)
                                                      l
                         v.)                                    NO

       U^,{nf Wnt.l ,*rr.',                                          1'.14.cv-10196
                                                                     Judge Milton l. Shadur
                                                                     Magistrate Judge Geraldine Soat Brown



        (Name of the defendant or defendants)



                             COMPLAINT OF EMPLOYMENT DISCRIMINATION

        l.   This is an action for employment discrimination.

        2.   The plaintiff is                                                                         of the

        county   of             Co" lZ
        3.   The defendant is

        street address is


        @itfi    Dht    %Nrt        ("ount,lr   4!P-lL     (statelT    lltnou un b O QAq,
        (Defendant's telephone       nunrber)     Q:31- bO t - 4*Oe-
        4.   The plaintiff sought employment or was employed by the defendant at (street address)

              /a      uoo U)v+Y Ot /Lrc.rLu- rc'tvt 0 \ uqiz                         t


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5.    The plaintiff lcheck one box)

      (u)n        was denied employnent by the defendant.

       (b)fl      was hired and is still employed by the defendant.

       (.)M.      was employed but is no longer employed by the defendant.


6.     The defen(ant discriminated against the plaintiff on or abop t, or beginning on or about,

       lmonthtJan,GagA!-,{yeai r?-a/*.
7.1      (Choose narasranh 7.1      or   7.2. do not comolete both.\

                  (a) The defendant is not     a federal govemmental agency, and the      plaintiff   lcheck

                      one    boxf   ar^ffi*,              filed a charge or charges against the defendant

asserting the acts of discrimination indicated in this complaint with any of the following

govemlnent agencies:


          (i)     n    tn" United States Equal Employment Opportunity Commission, on or about

                  (month)                      (day)_          (year)


          (ii)

                              H.6 (day) Ll
                       the    nois Dcnartment of Human Rishts. on or about

                  (month)                                      ,1"^,,,   ,,r, t'{
      (b) If charge s were filed with    an agency indicated above, a copy of the charge is


attached.                     E     OOO,   but plaintiff will file a copy of the charge within 14 days.

It is the policy of both the Equal Employment Opportunity Commission            and the   Illinois
Department of Human Rights to cross-file with the other agency all charges received. The
plaintiff has no reason to believe that this policy was not followed in this     case.



7.2        The defendant is a federal govemmental agency, and
          (a) the plaintiff previously filed a Complaint of Employment Discrimination with the

          defendant asserling the acts of discrimination indicated in this court complaint.
     Case:
     Case:1:14-cv-10196
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                   n           Yes (month)                     (day)_         (year)


                   tr          No, did not file Complaint of Employment Discrimination

       (b)      The plaintiff received a Final Agency Decision on (month)

                (day)               (vear)

       (c)      Attached is a copy of the

                (i) Complaint
                     -           of Employment Discrimination,

                    n ,ut          E *o, but a copy will be filed within 14 days.

                (ii) Final Agency Decision


                    n ,rt           f] *o, but a copy will be filed within 14 days.

8.      (Complete paragraph 8 only if defendant is not afederal governmental agency,)


        (u)fI       the United States Equal Employment Oppornrnity Commission has not issued


                    a   Notice of Right to Sue.


        (b)[|-      the United States Equal Employment Opportunity Commission has issued a


                    Notice of Right to Sue. which was received by the plaintiffon
                    (,,,onth\5f+ $ui 1-A-ry"urt &N Vucopv orwhich
                    Notice is attached to this complaint.



9.      The defendant discriminated against the plaintiff because of the   plaintifls lcheck only
        those that apply):


        (r)n     Age (Age Discrimination Employment Act).

        1b)f]    Color (Title VII of the Civil Rights Act of 1964 and42 U.S.C. $1981).
      Case:
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         (")fl      Disability (Americans with Disabilities Act or Rehabilitation Act)

         (d)f,      National Origin (Title VII of the Civil Rights Act      of   1964 and,42 U.S.C. $1981).

         (.)E}-nu.e       (Title VII of the Civil Rights Act    of   1964 and42 U.S.C. $1981).

         (f)n      Religion (Title VII of the Civil Rights Act of 1964)

         G)[        Sex (Title   VII of the Civil Rights Act of 1964)

10.      lf   the defendant is a state, county, municipal (city, town or village) or other local

         governmental agency, plaintiff further alleges discrimination on the basis of race, color,

         or national origin (42 U.S.C. $ 1983).
11.      Jurisdiction over the statutory violation alleged is conferred as follows: for Title          VII
         claims by 28 U.S.C.$1331,28 U.S.C.$1343(a)(3), and42 U.S.C.$2000e-5(f)(3);for
         42 U.S.C.$1981 and $1983 by 42 U.S.C.$1988; for the A.D.E.A. by42 U.S.C.$l2l l7;

         for the Rehabilitation Act, 29 U.S.C. $ 791.


12.      The defendant lcheck only those that apply)


         C)n           failed to hire the plaintiff.

         (b)EL         terminated the plaintiff   s    employment.

         (")[          failed to promote the plaintiff.

         (d)I          failed to reasonably accommodate the plaintiff s religion.

         (")[          failed to reasonably accommodate the plaintiff s disabilities.

         (Dn           failed to stop harassment;

         fg)EL         retaliated against the plaintiff because the plaintiffdid something to assert
                        rights protected by the laws identified in paragraphs 9 and      l0   above;

         (h)I          other(specify):
          Case:
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a




    13.      The facts supporting the plaintiff s claim of discrimination are as follows:

                         OL{-          t
                 AU.LJ   5

                 'r'- d"u      Dnb
                                                    -Pto,hA@

                  aw,_        e&A                   ilo,rbdt4 ?lqyn{,?Z                                  Nfis
                                                            t50,o),u,*l

    14.      IAGE DISCRIMINATION ONLYI Defendant knowingly, intentionally, and willfully
             discriminated against the plaintiff.

    15.      The plaintiff demands that the case be tried by   a   jury.,&tEa f] *o
    16.       THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
           lcheck only those that applyl


          (u)[       Direct the defendant to hire the plaintiff.

          &IXI       Direct the defendant to re-employ the plaintiff.

          (.)E       Direct the defendant to promote the plaintiff.

          (d)[       Direct the defendant to reasonably accommodate the plaintiff s religion.

          (")[       Direct the defendant to reasonably accommodate the plaintiff    s   disabilities.

          (08        Direct the defendant to (specify):
   Case:
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    re;&*         lf available, grant the plaintiff appropriate injunctive relief, lost wages,
                  liquidated/double damages, front pay, compensatory damages, punitive damages,
                  prejudgment interest, post-judgment interest, and costs, including reasonable
             -    attorney fees and experl witness fees.

    tfrflCrant             such other relief as the Court may find appropriate.



    (Plaintiff   s signature)




    (Plaintiff   s name




    (Plaintiff   s street address)


b /f              ;ltu Mz-
,Wls*tqzl-elP)                                                 tzA / o    q
(Plaintiff   s telephone   number)   AA -
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                 U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                   Chicago District Office
                                                                                                500 West Madison Street, Suite 2000
                                                                                                               Chicago, IL 60661
                                                                                                              PH: (312) 869-8000
                                                                                                             TrY: (312) 869-8001
 FILE REVIEWS FAX: (312) 869-8220                                                            ENFORCEMENT FAX: (312) 869-8220
 MEDIATION:      (3 12) 869-8060                                                            STATE & LOCAL FAX: (312) 869-8077
 HEARINGS FAX: (312) 869-8125                                                                        LEGAL FAX: (312) 869-8124




                      NOTICE OF DISCTOSURE RIGHTS
 Parties to an EEOC charge are entitled to review and obtain copies of documents contained in their
 investigative file. Requests must be made in writing to Sylvia Bustos and either mailed to the address
 above, faxed to (312) 869-8220 or sent via email to sylvia.br,rstos(Deeoc.sov (please chose only one
 method, no duplicate requests).
                                              tnc,"rr
                                           6 tz _ $ b.l _ g,i q
                                                                0
 If you are the Charging Party and a RIGHT TO SUE has been issued, you may be granted access to your
 file:

 *          Before filins a lawsuit. but within 90 days of your receipt of the Right to Sue, or

 *          After your lawsuit has been filed. If more than 90 days have elapsed since your receipt of
            the Right to Sue, include with your request a copy of the entire court complaint (with court
            stamped docket number) or enough pages to determine whether it was filed based on the
           EBOC charge.

If you are the Resoondent you may be granted access to the f:,Je onlv after a lawsuit has been filed.
Include with your request a copy of the court complaint that includes an official court stamped docket
number.

Pursuant     to federal statutes, certain documents, such as those which reflect the agency's deliberative
process,    will not be disclosed to either party.

You must sign an Agreement of Nondisclosure before you are granted access to the file, which will be
sent to you after receipt of your written request. (Statutes enforced by the EEOC prohibit the agency
from making investigative information public.)

The process for access to the fiie            wili begin no iater   than ten (10) <iays ioilowing receipt of your request.

When the file becomes available for review, you will be contacted. You may review the file in our
offices and/or request that a copy of the file be sent to you. Files may not be removed from the office.

Your file will be copied by Aloha Document Services, 60 East Van Buren, Suite 1502, Chicago, IL
60605, (312\ 542-1300. You are responsible for the copying costs and must sign an agreement to pay
these costs before the file will be sent to the copy service. Therefore, it is recommended that you first
review vour file to determine what documents, if any, you want copied. EEOC will not review your file
or provide a count of the pages contained in it. If you choose not to review your file, it will be sent in its
entiretv to the copy service, and you will be responsible for the cost. Payment must be made directly
to Aloha Document Services, which charges 15 cents per page.

(Revised 09/5/12, previous copies obsolete)
                     Case:
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 EEOC Foim 161 (11/Og)               U. S. Eoual Eruplovm erur Opponru Ntry Coltltrssrot't


                                                Drsrvussal AND NorcE oF                      RTGHTS
 To: Garvin Bedford                                                                  From: Chicago District Office
         PO Box 818                                                                        500 West Madison St
         Bellwood, lL 60104                                                                Suite 2000
                                                                                           Chicago, IL 60661


                           On behalf of person(s) aggrieved whose identity is
                           CONFIDENTIAL (29 CFR 61601.7bD
 EEOC Charge No.                               EEOC Representative                                                 Telephone No.

                                               Matthew Albucher,
 846-2014-07882                                lnvestigator                                                        (312) 869-8152
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
     tl         The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


    r           Your allegations did not involve a disability as defined by the Americans With Disabilities Act.


    E           The Respondent employs less than the required number of employees or is not othenvise covered by the statutes.

    E           Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                discrimination to flle your charge

    E           The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with


    r           the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
                The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.


    []          Other (briefly state)



                                                       . NOTICE OF SUIT RIGHTS.
                                                 (See fhe additional information attached to this form.)

Title Vll, the Americans with Disabilities Act, the Genetic lnformation Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 vears (3 vears)
before you file suit may not be collectible.




Enclosures(s)
                                                                       behalf of the Commission



                                                                           P. Rowe,
                                                                                                                        rA:
                                                                                                                         (Date Mailed)


           UNITED AIRLINES
           c/o Robin Hoornstra
           Sr. Staff Representative - EEO Compliance
           233 S. Wacker Dr.
           Chicago, !L 60606
                            Case:
                            Case:1:14-cv-10196
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                                               \ Document #: 1 Filed: 12/19/14 Page 9 of 9 PageID #:9
                                                           .:l
 EEOC Form 5   (1   1/09)                              .   :./


                            CunRcr oF            DISCRIMINATIoN                                             Charge Presented To:                    Agency(ies) Charge No(s):
               This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
                      Statement and other information before completing this form.                               T
                                                                                                                 *l     FEPA

                                                                                                                 tr
                                                                                                                 I rroc                                  846-2014-07882
                                                                 lllinois Department Of Human Rights                                                                  and EEOC
                                                                            State or local Aoencv. if anv

 Name fmdicate Mr., Ms., Mrs.)                                                                                           Home Phone (lncl. Area Code)               Date of Birth

 Mr. Garvin Bedford                                                                                                         (708) 547-7s16                        08-29-1 960
     Address
Street                                                                             City, State and Ztp Code

 P.O. Box 818, Bellwood, lL 60104

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (lf more than two, list under PARTICIJLARS below.)
Name                                                                                                                     No. Employees, Members         Phone No. (lnclude Area Code)

UNlTED A!RLII.JtrS                                                                                                        500 or More                      (773) 60f -42A2
   Address
Street                                        city, State and Ztp code
O'Hare Airport, 10000 West O'Hare, Chicago, 11,60666, Ghicago, lL 60666

Name                                                                                                                     No. Employees, Members         Phone No, (lnclude Area Code)



Street Address                                                                     City, State and ZIP Code




DISCRIMINATION BASED ON fcheck appropriate box(es).)                                                                             DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                          Earliest           Latest

  lTl *..                         COLOR
                                               E      sEx           [-l   neLrcroN
                                                                                        E           NAToNAL oRrGrN                                                01-21-2014
    l-l nernunrorv E
                    J I      orHER (specify)
                                               AGE
                                                      E DrsABrlrry [_l                          oeruerrc INFoRMAToN

                                                                                                                                          [-l       corlNurNG ACroN
THE PARTICULARS ARE (/f addlflonal paper is needed, attach extra sheet(s)):


  I began employment with Respondent in or around January 1996. My position was Customer Service
  Agent. During my employment, lwas subjected to different terms anfgqnditig,ns._g[emp]oyment
  thln non-BlaJk, flmate, ind younger empioyees, including, but not lifilG& ia;l8iscififi.ti35g
  discharge.
                                                                                                                                    F,' ' ,l\J'!
                                                                                                                                    .q/
                                                                                                                                                   .1


  I believe that ! have been discriminated against because of my race, Black, and sex,  le, in violation
  of Title Vll of the Civil Rights Act of 1964, as amended.            #}j,0dG0 st$mtff0rfifs
  I also believe that I have been discriminated against because of my age, 53 (d.o.b. August 29, 1960),
  in violation of the Age Discrimination in Employment Act of 1967, as amended.


I want this charge flled with both the EEOC and the State or local Agency, if any.          I      NOTARY   -   When necessary tor State and Local Agency Requirements
will advise the agencies if I change my address or phone number and Iwill
cooperate fully tlith them in the processing of my charge in accordance with their
procedures.
                                                                                                   I swear or affirm that I have read the above charge and that it is true to
I declare under penalty of perjury that the above is true and correct.                             the best of my knowledge, information and belief.
                                                                                                   SIGNATURE OF COIvIPLAINANT



                                                                                                   SUBSCRIBED AND SWORN TO BEFORE I\/E THIS DATE
    Feb 04,2014                                                                                    (month, day, yea1
